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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                :
 B.S. INGERSOLL, LLC,                           :
 A PENNSYLVANIA LIMITED LIABILITY               :
 COMPANY                                        :
                                                :
                       Plaintiff,               :
                                                :   Civ No. 22-cv-00771
                                     v.         :
                                                :
 GREAT AMERICAN INSURANCE COMPANY,              :
 AN OHIO CORPORATION,                           :
                                                :
                       Defendant.               :
                                                :

                     STIPULATION EXTENDING TIME TO RESPOND

        PLEASE TAKE NOTICE that it is hereby stipulated and agreed by and between

counsel for B.S. Ingersoll, LLC (the “Plaintiff”) and counsel for Great American Insurance

Company (the “Defendant”), having received good and proper service of Defendant’s Rule

12(B)(6) Motion to Dismiss (DI #7) (the “Motion”) that the deadline for Plaintiff to respond to

Defendant’s Motion is extended to June 23, 2022.


/s/ Michael D. Vagnoni                              /s/ T. Scott Leo
Michael D. Vagnoni, Esquire                         T. Scott Leo, Esquire (pro hac vice)
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Attorneys for B.S. Ingersoll, LLC                   Company




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